                    item 1, 2, and 3.
USDCnt IN/ND   case
        your name and3:23-cv-00967-DRL-MGG
                      address on th        document 8-1 filed 02/01/24 page 1 of 1
          hat we can return the card to Y~~everse
    Attach this card to the back of the • .
    or on the front if space permits. mallp1ece,                                                                                       CJ Agent
                                                                                      B. Received by (Printed Name)                    tJ Addressee
 1. Article Addressed to:
                                                                                                                                   C. Date of Delivery
                  Brian Dickerson                                                     D. \~ ~~~ery addre~ different from item 1?    Yes  □
         c/o Final Phase Electric Co., Inc.                                                    ' enter delivery address below:   ti No
                1035 Industrial Pkwy
                 Elkhart, IN, 46516


                                                                                     3. Service Type
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            9590 9402 8088 2349 5456 57                                             ~Certified Mall®
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 -2-.-Art-l-cl_e_N_u_m_b_er_m                                                           Collect on Delivery Restricted Delivery □ Signature
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    PS Form 3811, July 2020 PSN 7530-02-000-9053                                                                                                                       0                        ·-
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